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                                           3                   IN THE UNITED STATES DISTRICT COURT
                                           4                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                           8   TECHNOLOGY PROPERTIES LIMITED LLC                   No. C 14-3640 CW
                                               and MCM PORTFOLIO LLC,
                                           9                                                       ORDER ON
                                                         Plaintiffs,                               ADMINISTRATIVE
                                          10                                                       MOTION TO SEAL
                                                    v.
For the Northern District of California




                                          11                                                       (Docket No. 316)
                                               CANON, INC. et al.,
    United States District Court




                                          12
                                                         Defendants.
                                          13
                                                                                   /
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                                               TECHNOLOGY PROPERTIES LIMITED LLC                   No. C 14-3643 CW
                                          15   and MCM PORTFOLIO LLC,
                                                                                                   (Docket No. 99)
                                          16             Plaintiffs,
                                          17        v.
                                          18   HEWLETT-PACKARD COMPANY,
                                          19             Defendant.
                                          20                                       /
                                          21   TECHNOLOGY PROPERTIES LIMITED LLC                   No. C 14-3645 CW
                                               and MCM PORTFOLIO LLC,
                                          22                                                       (Docket No. 84)
                                                         Plaintiffs,
                                          23
                                                    v.
                                          24
                                               NEWEGG INC. et al.,
                                          25
                                                         Defendants.
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                                           1   TECHNOLOGY PROPERTIES LIMITED LLC                    No. C 14-3646 CW
                                               and MCM PORTFOLIO LLC,
                                           2                                                        (Docket No. 100)
                                                           Plaintiffs,
                                           3
                                                      v.
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                                               SEIKO EPSON CORPORATION, et al.,
                                           5
                                                           Defendants.
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                                           9          Before the Court is an administrative motion to seal filed by
                                          10   Plaintiffs Technology Properties Limited LLC and MCM Portfolio
For the Northern District of California




                                          11   LLC.   (Case No. 14-3640, Docket No. 316; Case No. 14-3643, Docket
    United States District Court




                                          12   No. 99; Case No. 14-3645, Docket No. 84; Case No. 14-3646, Docket
                                          13   No. 100).
                                          14          Under Civil Local Rule 79-5, a document may be filed under
                                          15   seal only if a party establishes that the portions sought to be
                                          16   sealed "are privileged, protectable as a trade secret or otherwise
                                          17   entitled to protection under the law."       Civ. L.R. 79-5(b).   Any
                                          18   sealing request must be narrowly tailored to cover only sealable
                                          19   material.   Id.   The request must be supported by the designating
                                          20   party's declaration establishing that the information is sealable.
                                          21   Id. subsection (d).
                                          22          "Historically, courts have recognized a 'general right to
                                          23   inspect and copy public records and documents, including judicial
                                          24   records and documents.'"     Kamakana v. City & Cnty. of Honolulu,
                                          25   447 F.3d 1172, 1178 (9th Cir. 2006).       In considering a sealing
                                          26   request, the Court begins with "a strong presumption of access
                                          27   [as] the starting point."     Id.
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                                           1   Case No.        Plaintiffs seek leave to file under seal certain
                                           2   14-3640,        confidential documents from the International Trade
                                           3   Docket No.      Commission investigation.
                                           4   316                1. Exhibit B to the Declaration of Benjamin R.
                                           5                         Askew: the confidential version of the Initial
                                           6   Case No.              Determination on Violation of Section 337 and
                                           7   14-3643,              Recommended Determination on Remedy and Bond.
                                           8   Docket No.         2. Exhibit C to the Askew Declaration:        the
                                           9   99                    confidential version of the ITC opinion.
                                          10                   Plaintiffs' motion will be GRANTED.        First, the
For the Northern District of California




                                          11   Case No.        documents were filed for the benefit of and at the
    United States District Court




                                          12   14-3645,        request of the Court, and they are not associated with
                                          13   Docket No.      a dispositive motion.       Second, as noted in the Askew
                                          14   84              Declaration, public versions of both documents were
                                          15                   previously submitted as exhibits to the parties' claim
                                          16   Case No.        construction briefs, and the redactions in the sealed
                                          17   14-3646,        versions are narrowly tailored to confidential
                                          18   Docket No.      information only.
                                          19   100
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                                          25                                      CONCLUSION
                                          26           For the reason set forth above, Plaintiffs' Administrative
                                          27   Motion to File Under Seal (Case No. 14-3640, Docket No. 316; Case
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                                                  Case 4:14-cv-03645-CW Document 88 Filed 09/09/15 Page 4 of 4




                                           1   No. 14-3643, Docket No. 99; Case No. 14-3645, Docket No. 84; Case
                                           2   No. 14-3646, Docket No. 100) is GRANTED.
                                           3        IT IS SO ORDERED.
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                                           5   Dated: September 9, 2015
                                           6                                         CLAUDIA WILKEN
                                                                                     United States District Judge
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                                          10
For the Northern District of California




                                          11
    United States District Court




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